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                                                  IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE WESTERN DISTRICT OF VIRGINIA
                                                           ROANOKE DIVISION

                         JOHN DOE,                                     )
                                                                       )
                               Plaintiff,                              )
                                                                       )
                         v.                                            )         Case No. 7:21cv378
                                                                       )
                         VIRGINIA POLYTECHNIC INSTITUTE                )
                         AND STATE UNIVERSITY,                         )
                                                                       )
                               Defendant.                              )

                                                     CONSENT MOTION FOR EXTENSION

                                 Defendant Virginia Polytechnic Institute and State University, by counsel, pursuant

                        to Rule 6(b) of the Federal Rules of Civil Procedure, respectfully requests entry of an Order

                        extending the time within which Defendant must file its responsive pleadings to plaintiff’s

                        Second Amended Complaint, ECF No. 86.

                              1. On June 26, 2023, the Court entered an Order granting plaintiff leave to file an

                        amended complaint. ECF No. 79.

                              2. In the same Order, the Court directed plaintiff to file his amended complaint on or

                        before July 24, 2023, and directed Defendant to respond on or before August 28, 2023. Id.

                              3. Plaintiff then requested, and the Court granted, an extension of time to file his

                        amended complaint. ECF No. 84; ECF No. 85.

                              4. Plaintiff’s motion and the Court’s Order were silent as to the deadline for

ATTORNEYS AT LAW        Defendant’s responsive pleadings. Id.; ECF No. 85.
 Roanoke, Virginia

                              5. In light of the extension of time afforded to plaintiff to file his amended complaint,

                        Defendant requests a corresponding extension to file its responsive pleadings.


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                            6. Rule 6(b) of the Federal Rules of Civil Procedure permits the Court to extend the

                        time an act may or must be done if a request is made before the original time expires upon

                        a finding of good cause. Fed. R. Civ. P. 6(b)(1)(A).

                            7. Defendant’s motion is made in good faith and is not filed for the purpose of delay.

                            8. Defendant’s motion is filed prior to the expiration of the deadline for Defendant to

                        file responsive pleadings.

                            9. Plaintiff consents to Defendant’s motion.

                            10. Accordingly, for the reasons set forth above, good cause exists for extending the time

                        for Defendant to file its Answer.

                            11. A proposed Order is enclosed.

                                 For the foregoing reasons, Defendant respectfully requests entry of an Order

                        extending the time for Defendant to file its responsive pleadings to the Second Amended

                        Complaint through and including September 27, 2023, and granting such further relief as

                        the Court deems just and proper.

                                                                     Respectfully submitted,

                                                                     VIRGINIA POLYTECHNIC INSTITUTE AND
                                                                     STATE UNIVERSITY

                                                                     /s/
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                                                            CERTIFICATE OF SERVICE

                                 I hereby certify that on August 25, 2023, I electronically filed the foregoing with the

                        Clerk of the Court using the CM/ECF system, which will automatically send notification of

                        such filing to all counsel of record and have emailed a copy to plaintiff at the email address

                        believed to be used by plaintiff.



                                                                             /s/ Nathan H. Schnetzler
                                                                                   Of Counsel




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